Case 2:05-cr-20158-.]PI\/| Document 20 Filed 08/29/05 Page 1 of 2 Page|D 24

IN THE UNITED sTATEs DISTRICT COURT _ m Y
FOR THE WESTERN DIsTRIcT 0F TENNESSEE 3 ----- _.__oe.

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UNITED sTATEs oF AMERICA M U(S_ mmcr m
W/D OF TN, MEMPHS
NO. 05-20153

VS.
ORLANDO PRIDE,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR LEAVE TO FILE
ADDITIONAL MOTIONS UPON COMPLETION OF DISCOVERY

 

Before this Honorable Court is Defendant Orlando Pride’s Motion for
Leave to File Additional Motions Upon Completion of Discovery. It appearing to this
Court that time beyond the required 30 days for filing of motions is necessary;

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREEI_) that
Defendant’s request for additional time is granted. Defendant Shall have 30 days after

completion of Discovery to file all pre-tn`al motions.

Entered this the § Q day of ' , 2005.

to m“(lM

\ /Uu%ed States District Court Judge

 

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UNITED sTATE DRISTIC COUR - WTERN D'S'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 20 in
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US DISTRICT COURT

